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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

U.S.A. vs. SMITH, Jeffrey Alexander Docket No.: 1:21CR00290-001

 

The Court may enter a minute order for any of the following options:

Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that you not enter a
minute order. Rather, please print and sign this document and, if you concur with the request for a warrant, provide all pages to your
Court Room Deputy Clerk who will enter a sealed minute order and process the warrant for service without alerting the public or the
offender. After the warrant is executed, the Deputy Clerk will unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

1. O Concurs with the recommendation of the Probation Office to “transfer jurisdiction of Mr. Smith’s criminal
case to the United States District Court for the District of Colorado.”

2.

3.

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No action

Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

Issuance of a summons and schedule a hearing

Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate judge for the
preparation of a report and recommendation to the district judge. This designation will remain for the
duration of the case, and the designated magistrate judge will respond to all subsequent requests from the

probation office unless otherwise ordered by the district judge.

Other

 

 

 

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Reggie B. Walton
United States District Judge

 

11/09/2022
Date
